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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

VINTAGE ASSETS, INC. NO. 2:16-cv-0|]713

versus Section H

TENNESSEE GAS PIPELINE Judge Jane Triche Milazzo
COMPANY, L.L.C. AND SOUTHERN

NATURAL GAS COMPANY, L.L.C. Magistrate Judge Michael North

SOUTHERN NATURAL GAS COMPANY, L.L.C.’S
AMEND]L) RESPONSES TO£I_..A]NTIFF§’ FIRST SET OF
INTERROGATORIES AND REOUESTS FOR PRODUCTION OF DOCUMENTS

Southern Natural Gas Company, L.L.C. (“SNG”) hereby amends its original Responses
to Plaintiff’s First Set of Interrogatories and Requests for Production of Documents (“Discovery
Requests”), amending the specific Responses identified below by replacing the prior Responses
With the Responses below, as follows

I. PREFATORY STATEMENT

SNG’s responses and objections are made on the basis of information and documents
currently available to and located by SNG upon reasonable investigation lt is possible that future
discovery and independent investigation may lead to the discovery of additional documents,
facts, or information, may add meaning to known facts, and/or may establish entirely new factual
conclusions and contentions, all of Which may lead to substantial additions through changes in
and variations from the answers or responses set forth herein. SNG will supplement and/or
amend these Discovery Responses, if necessary, in accordance with all applicable requirements

Furthennore, since propounding the Discovery Requests on SNG, Plaintiff has filed a

First Supplemental and Amended Complaint (“Arnended Complaint”), which adds new plaintiffs

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to this action and alters the property originally placed at issue by this suit. SNG makes no
representation as to whether any pipelinc, canal, or any other activity, operation, or feature
identified in the following Discovery Responses is located on or near Plaintiffs’ property.

SNG further notes that it previously stored files at a facility in St. Bernard Pan'sh, and
many such files were destroyed or damaged by Hurricane Katrina in 2005. Moreover, SNG sold
all of its pipelines located on Plaintiffs’ property in 2011, and many documents relevant to its
former pipelines may be in the possession cfa third party.

The following Responses to the Discovery Requests are made solely for the purposes of
this action. SNG is producing documents in response to the Discovery Requests in the form
provided herein_rnulti-page “PDF” format with Bates numbers. Spreadsheets and image files
are being produced in their native format with Bates numbers

II. RESERVATION ()F RIGHTS

SNG’s decision to provide information notwithstanding the objectionable nature of any
of the Discovery Requests is not a waiver of any applicable objections Preserving all
objections, and without waiving any objection with respect to the subsequent use of these
Responses or otherwise, SNG specifically reserves: (a) all questions as to the competence,
privilege, relevance, materiality, and admissibility of these Responses or documents submitted
herewith; (b) the right to object to the use of these Responses or documents Subrnitted herewith
in any subsequent suit or proceedings or otherwise; (c) the right to object on all or any proper
grounds at any time to other discovery procedures involving or related to these Responses or
documents submitted herewith; and, (d) the right at any time to revise, correct, clarify,

supplement and/or amend these Responses as information becomes available in this litigation or

otherwise

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Further, a Response indicating that documents Will be produced shall not be deemed or
construed that there are, in fact, responsive documents, that SNG performed any of the acts
described in the Request, and/or Instructions applicable to the Request, or that SNG acquiesces
in the characterization of the conduct or activities contained in the Request and/or Instructions
applicable to the Request. These Responses are made without prejudice to, and are not a waiver
of`, SNG’s right to rely on other facts or documents at trial.

III.GENERAL OBJECTIONS
SNG asserts the following general objections to each of the Discovery Requests:

A. SNG objects to the Discovery Requests to the extent they do not comply with the
applicable procedural rules. By providing the following responses to the Discovery
Requests, SNG does not waive its rights to object specifically to improper or
impermissible requests for production

B. SNG objects to the Discovery Requests to the extent they seek documents that are
privileged under the attorney-client privilege, work product, joint defense, or any other
privilege or basis for non-disclosure

C. SNG objects to the Discovery Requests to the extent they are not limited to relevant time
periods or the property at issue in this matter. Specifically, SNG objects to the scope of
the Discovery Requests to the extent they seek documents or information regarding the
entire Breton Sound Basin area, statewide, nationwide, or unlimited geographically

D. SNG objects to the Discovery Requests to the extent they seek documents that are
generally available through public records, or is more easily obtainable by the Plaintift`
through some other source.

E. SNG objects to the Discovery Requests insofar as they seek documents that are not
relevant to the Plaintist claims and!or SNG’s defenses

F. SNG objects to instructions in the Discovery Requests that are inconsistent with the
requirements of the F ederal Rules of Civil Proeedure.

IV. OBJECTIONS TO DEFINITIONS

A. SNG objects to the definitions of “you,” and “your” in the Discovery Requests on the
grounds that:

0 They are vague, ambiguous, overly broad, and unduly burdensome;

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o They call for information that is protected by attorney-client privilege, other
applicable privileges, and are not relevant to the subject of this action; and

¢ They exceed the limits of permissible discovery under the Federal Rules of Civil
Procedure.

SNG responds to these Discovery Requests solely on its own behalf.

SNG objects to the definition of “document” in the Discovery Requests on the grounds
that:

¢ lt calls for information that is not relevant to the subject of this action;

¢ lt exceeds the limits of permissible discovery under the Federal Rules of Civil
Procedure;

0 lt is overly broad and unduly burdensome; and

¢ To the extent it encompasses expert reports, it is premature under the Federal

Rules of Civil Procedure.

Without prejudice and subject to its objections, SNG will treat “document” to mean the
materials described within its possession, custody, or control.

SNG objects to the definition of` “policy” in the Discovery Requests on the grounds that it
is vague, ambiguous, and overly broad including but not limited to because it is
unbounded in time, unrestricted in topic or relevance to this action, and the phrase
“cornrnon understanding of any course of conduct which is or was recognized as such” is
sufficiently vague, ambiguous, and overbroad to encompass any shared understanding on
any matter whatsoever from the inception of SNG to the present

SNG objects to the definition of “canals” in the Discovery Requests on the grounds that
it is vague, ambiguous, and overly broad including, but not limited to, because the terms
“spoil banks, pumps, equipment, weirs, dams, dikes, pilings, plugs and bulk heads” are
undefined, vague, ambiguous, and overly broad. SNG further objects to the definition on
the basis that “canals that traverse throughout the Breton Sound Basin” is vague and
ambiguous

SNG objects to the definition of “Breton Sound Basin” in the Discovery Requests on the
grounds that it is vague, ambiguous, and overly broad including, but not limited to,
because the areas referred to in the definition, including “Bayou La Loutre,” “Mississippi
River Gulf Outlet,” “Baptiste Collete Bayou,” and “Breton Island” are themselves
undefined, vague and ambiguous, and are subject to natural fluctuations in size and
location

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V. RESPONSES TO INTERROGATORIES

INTERROGATORY NO. 1:

Please identify all right of ways, agreements leases, servitudes, surface leases related to
Plaintil"fs Property in which you or your predecessor(s) or snccessor(s) in interest are or were a
party or otherwise have or had a financial or other interest For each right of way, agreement,
lease, servitude, or surface lease, your response should include: (a) the names of the parties to
the original agreement (b) an identification of any amendments sales, transfers, assignments
sub~lease agreements or releases; (c) the names of any assignors, assignees, vendees, sub-
lessors, or sub-lessees, (d) the date of execution of the original agreement and amendments
thereto, and the date of execution of any sale, transfer, assignment, sub-lease, or release; (e) the
names of the parties to said agreements; and (l) the applicable book, page, and entry number of
any document identified in your response, if said document is recorded in the public records
ANSWER TO INTERROGATORY NO. 1:

SNG objects to this lnterrogatory on the grounds that the request to identify all right of
ways, agreements leases, servitudes, and surface leases “related to” Plaintiffs’ property is not
limited to contracts and agreements to which Piaintiffs were parties or which do not directly
cover Plaintiffs property, and therefore is overly broad because it seeks identification of
contracts and agreements which have no bearing on Plaintiffs’ claims and for which Plaintiffs
cannot claim a breach. SNG also objects to this lnterrogatory to the extent it seeks information
about the operations of any person or entity other than SNG. A request that SNG identify such
contracts and agreements despite the fact that they do not pertain to operations of SNG would
be unduly hurdensome, and any such request should be directed to the party conducting such
operations SNG further objects to this Interrogatory to the extent it seeks information that is
contained in the public record, is already in the possession of Plaintiff, or is more easily
obtainable by Plaintiff from some other source, and therefore requests that SNG perform work

on Plaintiffs’ behalf and for which Plaintiffs are equally suited. Subject to and without waiving

any of its objections, SNG responds by identifying the following right of Ways that may be

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responsive to this Interrogatory (which are further reflected in documents produced with SNG’s
Response to Request for Production No. l):

l) Right of Way from the State of Louisiana to Southern Natural Gas Company, dated
January 14, 1953, recorded at Book 165, Page 712 of the Plaquemines Parish Conveyance
Records;

2) Right of Way from Upper Realty, Inc. to Southcrn Natural Gas Company, dated
January 9, 1953, recorded at Book 166, Page 197 of the Plaquemines Parish Conveyance
Records;

3) Right of Way from Lenmark Lands lnc. to Southern Natural Gas Company, dated
January 9, 1953, recorded at Book 166, Page 199 of the Plaquemines Parish Conveyance
Records;

4) Right of Way from Joyce Vaughan Clark Porter, et al., to Southern Natural Gas
Company, dated September 7, 1967, recorded at Book 316, Page 1013 of the Plaquemines
Parish Conveyance Records;

5) Right of Way from Paul G. Portie and Adele W. Portie to Southern Natural Gas
Company, dated September 26, 1967, recorded at Book 317, Page 260 of the Plaquemines
Parish Conveyance Records;

6) Right of Way from Gordon Iel. Clark and Grace Patricia Clark to Southern Natural
Gas Company, dated September 27, 1967, recorded at Book 317, Page 262 of the Plaquemines
Parish Conveyance Records;

7) Right of Way from the State of Louisiana to Southern Naturai Gas Company, dated

June 19, 1970, recorded at Book 352, Page 292 of the Plaquemines Parish Conveyance Records;

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8) Right of Way from Lenrnark Lands, lnc., et al., to Southern Natural Gas Company,
dated June 15, 1970, recorded at Book 354, Page 289 of the Plaquemines Parish Conveyance
Records;

9) Right of Way from Upper Rcalty, lnc., et al., to Southern Natural Gas Company,
dated June 15, 1970, recorded at Book 354, Page 293r of the Plaquemines Parish Conveyance
Records;

10) Right of Way from Manning Oil Corporation, et al., to Southern Natural Gas
Company, recorded at Book 204, Page 847 of the Plaquemines Parish Conveyance Records.
INTERROGATORY NO. 3:

Please identify all regulatory compliance notices that you have received from any
regulatory or governmental agencies (inc]uding federal, state, and local) regarding the dredging,
use, operation, and/or maintenance of each canal identified in response to lnterrogatory No. 2, As
part of your response, please include the names of all management level employees and all
contractors or consultants involved with these matters identifying their roles, their relationship to
you, and when they were involved with said activities
ANSWER T() INTERROGATORY NO. 3:

SNG objects to this lnterrogatory on the grounds that it seeks a response pertaining to all
canals that “traverse Plaintiff`s Property,” and to the extent this lnterrogatory seeks a response
pertaining to any portion of such a canal that is not located on Plaintiffs’ property, it is overly
broad. SNG further objects to this interrogatory on the basis that it requests a narrative response
constructed horn a review of possibly relevant documents, and that the information sought is as
easily obtained by Plaintiffs reviewing such documents as by SNG performing such a review.
This lnterrogatory therefore places an undue burden on SNG, which burden should more

properly be borne by Plaintif`f`s. SNG further objects to this lnterrogatory to the extent it seeks

information that is contained in the public record, is already in the possession of Plaintiff, or is

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more easily obtainable by Plaintiff from some other source, and therefore places an undue
burden on SNG to perform work on behalf of Plaintiffs

Subject to and without waiving any of its objections, and after conducting a reasonable
inquiry and search of the company's rccords, SNG responds that it has not received any
compliance orders with respect to canals associated with pipelines traversing Plaintiffs’ property
INTERROGATORY NO. 9:

Please identify each pipeline installed, owned, and/or operated by you that traverses
Plaintiffs Property providing the following information:

a. size of each line;

b. originating point(s) of each line and the final destination(s);

c. what materials and/or hydrocarbons are being transported in said lines;

d. who the purchaser of said hydrocarbons is/are;

e. how much revenue has been generated in each line since installation providing yearly

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ANSWER TO INTERROGATORY NO. 9:

SNG objects to this lnterrogatory on the grounds that it seeks a response pertaining to
each pipeline that “traverses Plaintist Property,” and to the extent this lnterrogatory seeks a
response pertaining to any portion of such a pipeline that is not located on Plaintiffs’ property, it
is overly broad. SNG further objects to this lnterrogatory on the basis that it requests a response
constructed from a review of possibly relevant documents, and that the information sought is as
easily obtained by Plaintiffs reviewing such documents as by SNG performing such a review.
This lnterrogatory therefore places an undue burden on SNG, which burden should more
properly be borne by Plaintiffs SNG further objects to this lnterrogatory to the extent it seeks
information that is contained in the public record, is already in the possession of Plaintiff, or is

more easily obtainable by Plaintiff from some other source, and therefore places an undue

burden on SNG to perform work on behalf of Plaintiffs

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Subject to and without waiving its objections, SNG responds by identifying the
following pipelines and information requested by this lnterrogatory:

The Main Pass Franklinton Line (“Franklinton Line”) is a 20” pipeline originating in
Section 17, 'l`l9S, Rl SE, Plaquemines Parish, Louisiana, and terminating in Franlclinton,
Louisiana.

The OIga - Gate 6 Loop Line (“Olga Loop Line”) is a 26” pipeline originating in
Section l”f, T19S, RlSE, Plaquemines Parish, Louisiana, and terminating in Section 19, Tl6S,
RlSE (“Gate 6”), Plaquemines Parish, Louisiana. This pipeline is also sometimes referred to as
the l\/lain Pass Franklinton Loop Line.

The Black Bay Junction - Gate 6 Line (“Black Bay Line”) is a 12” pipeline originating
in Section 2], Tl6S, Rl6E, and terminating at Gate 6 in Plaquemines Parish, Louisiana.

The Gate 6 - Toca Loop Line (“Toca Loop Line”) is a 20” pipeline originating at Gate
6, Plaquemines Parish, Louisiana, and terminating at Toca, Louisiana. This pipeline is also
sometimes referred to as the Main Pass Franltlinton Loop Line.

The Gate 6 - Toca 2nd Loop Line (“Toca 2nd Loop Line”) is a 26” pipeline originating
at Gate 6, Plaquemines Parish, Louisiana, and terminating at Toca, Louisiana. This pipeline is
also sometimes referred to as the Main Pass Franklinton an Loop Line.

SNG further responds that the pipelines identified above are “cross country pipelines”
which may be composed of various segments of differing nature including size, function, flow
direction, maintenance activity, installation year, and installation method. AS such, SNG’s

responses above pertain only to the portions of such pipelines which may traverse Plaintiffs’

property.

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SNG further responds that the above pipelines were sold by SNG in 2011. At the time
SNG operated the above pipelines, they were used to transport natural gas Because the above
pipelines were operated by SNG as common carrier pipelines, the product they transported was
sold on the open market

lnformation provided in this response can be found in the documents produced with
SNG’s Supplemental Response to Request for Production No. 9, below.

INTERROGATORY NO. 12_:

Please identify all regulatory compliance notices that you have received from any
regulatory agencies (inc]uding federal, state, and local) regarding the installation, operations,
and/or maintenance of each pipe line identified in response to lnterrogatory No. 9. As part of
your response, please include the names of all management level employees and all
contractors or consultants involved with these matters identifying their roles, their relationship
to you, and when they were involved with said activities
ANSWER TO INTERROGATORY NO. 12:

SNG objects to this lnterrogatory on the grounds that it seeks a response pertaining to
each pipeline that “traverses Plaintiffs Property,” and to the extent this lnterrogatory seeks a
response pertaining to any portion of such a pipeline that is not located on Plaintiffs’ property, it
is overly broad. SNG further objects to this lnterrogatory on the basis that it requests a narrative
response constructed from a review of possibly relevant documentsl and that the information
sought is as easily obtained by Plaintiffs reviewing such documents as by SNG performing such
a review. This lnterrogatory therefore places an undue burden on SNG, which burden should
more properly be borne by Plaintiffs SNG further objects to this lnterrogatory to the extent it
seeks information that is contained in the public record, is already in the possession of Plaintiff,

or is more easily obtainable by Plaintiff from some other source, and therefore places an undue

burden on SNG to perform work on behalf of Plaintiffs

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Subject to and without waiving any of its objections and after conducting a reasonable
inquiry and search of the company‘s records SNG responds that it has not received any
compliance orders with respect to the portions of its pipelines which traverse Plaintiffs’ property
INTERROGATORY NO. 13:

Please identify all spills, leaks, or releases of any materials from the pipelines identified
in response to lnterrogatory No. 9 providing the date of each release, materials that was released,
and to what governmental or regulatory entities that it was reported.

SUPPLEMENTAL ANSWER TO INTERROGATORY NO. 13:

SNG objects to this lnterrogatory on the grounds that it seeks a response pertaining to
each pipeline that “traverses Plaintiffs Property,” and to the extent this lnterrogatory seeks a
response pertaining to any portion of Such a pipeline that is not located on Plaintiffs’ property, it
is overly broad. SNG further objects to this lnterrogatory on the basis that it requests a narrative
response constructed from a review of possibly relevant documents and that the information
sought is as easily obtained by Plaintiffs reviewing such documents as by SNG performing such
a review. This lnterrogatory therefore places an undue burden on SNG, which burden should
more properly be borne by Plaintiffs SNG further objects to this lnterrogatory to the extent it
seeks information that is contained in the public record, is already in the possession of Plaintiff,
or is more easily obtainable by Plaintiff from some other source, and therefore places an undue
burden on SNG to perform work on Plaintiffs’ behalf for which Plaintiffs are equally suited.

Subject to and without waiving its objections and after conducting a reasonable inquiry
and search of the company's records, SNG responds that the pipelines identified in its Answer to

lnterrogatory No. 9 were not the source of any spills, Ieaks, or releases of materials on

Plaintiffs’ property during the time SNG owned and operated such pipelines

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VI. RESPONSES TO REOUESTS FOR PRODUCTION OF I)OCUMENTS
REOUEST FOR PRODUCTION NO. 1:

Please produce a copy of all documents identified in, that relate to or support your
response to lnterrogatory No. l.

RESPONSE TO REOUEST FOR PRODUCTION NO. l:

SNG objects to this Request on the grounds that the request to produce all right of
ways, agreements leases, servitudes, and surface leases “related to” Plaintiffs’ property is not
limited to contracts and agreements to which Plaintiffs were parties or which do not directly
cover Plaintiffs property, and therefore is overly broad because it seeks production of contracts
and agreements which have no bearing on Plaintiffs’ claims and for which Plaintiffs cannot
claim a breach. SNG also objects to this Request to the extent it seeks documents pertaining to
the operations of any person or entity other than SNG. A request that SNG produce such
contracts and agreements despite the fact that they do not pertain to operations of SNG is
unduly burdensome, and any such request should be directed to the party conducting such
operations SNG further objects to this lnterrogatory to the extent it seeks documents that are
contained in the public record, are already in the possession of Plaintiff, are no longer in the
possession of SNG, or are more easily obtainable by Plaintiff from some other source, and
therefore places an undue burden on SNG to perform work on Plaintiffs’ behalf for which
Plaintiffs are equally suited.

Subject to and without waiving any of its objections, SNG responds by producing
documents identified as KMMSNG_OOOOOl - 000043; and KM_SNG_OOOI'?S - 00()180.
REOUEST FOR PRODUCTION NO. 9:

Please produce a copy of all documents identified in, that relate to or support your
response to lnterro gatory No. 9.

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RESPONSE TO REOUEST FOR PRODUCTION NO. 9:

SNG objects to this Request on the grounds that it seeks a response pertaining to each
pipeline that “traverses Plaintiff’s Property,” and to the extent this Request seeks a response
pertaining to any portion of such a pipeline that is not located on Plaintiffs’ property, it is
overly broad. SNG further objects to this Request to the extent it seeks documents that are
contained in the public record, are already in the possession of Plaintiff, arc no longer in the
possession of SNG, or are more easily obtainable by Plaintiff from some other source, and
therefore places an undue burden on SNG to perform work on Plaintiffs’ behalf for which
Plaintiffs are equally suited.

Subject to and without waiving any of its objections, SNG responds by producing
documents identified as KM_SNG_000044 _ 000076; KM_SNGWOOOOSJQ - 000104; and
KM_SNG_OOOIOS - 000152.

REOUEST FOR PRODUCTION NO. 19:

Produce all applications, forms, maps, diagrams showing the permitted andfor actual
location, depth, width, length of any right-of-ways and/or canals you acquired on Plaintiffs
Property.

RESPONSE TO REOUES'I` FOR PRODUCTION NO. 19:

SNG objects to this Request to the extent it assumes or implies that any production of
documents indicating locations, depths, Widths, or lengths of right-of-ways or canals constitute
an assertion or admission that such data are accurate SNG further objects to this Request to the
extent it seeks documents that are contained in the public record, are already in the possession of
Plaintitf, are no longer in the possession of SNG, or are more easily obtainable by Plaintiff from

some other source, and therefore requests that SNG perform work on Plaintiffs’ behalf for which

Plaintiffs are equally suited.

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Subject to and without waiving any of its objections, SNG responds by producing
documents identified as KM_SNG_000044 - 000073; and KM_SNG_~OOOI?§ - 000180.
REOUEST FOR PROI)UCTION NO. 39:

Produce all drawings, plans, maps, surveys, and diagrams evidencing the location, scope,
length, width, depth of the right of ways on Plaintiffs Property.

RESPONSE TO REOUEST FOR PRODUCTION NO. 39:

SNG objects to this Request to the extent it assumes or implies that any production of
documents indicating locations, scopes, lengths, Widths, or depths of right-of-ways constitute
an assertion or admission that such data are accurate SNG further objects to this Request to the
extent it seeks documents that are contained in the public record, are already in the possession
of Plaintiff, are no longer in the possession of SNG, or are more easily obtainable by Plaintiff
from some other source, and therefore places an undue burden on SNG to perform work on
Plaintiffs’ behalf for which Plaintiffs are equally suited. SNG further objects to this Request on
the grounds that it is needlessly duplicative of Request No. 19, which contains nearly identical
language but makes a broader request for documents evidencing the “permitted and/or actual”
details for both right-of-ways and canals located on Plaintiffs’ Property.

Subject to and without waiving any of its objections, SNG responds by producing
documents identified as KM_SNG_000044 - 000073; and KM_SNG_OOO]'?S - 000180.
REOUES’I` FOR PRODUCTION NO. 42:

Produce all site plans, maps, surveys, plats, surface or aerial photographs infra-red

images, slides, video, films, drawings, schematics, sketches, cross-sections, plats, graphs, and
computer-generated images which depict and/or relate to the pipelines and/or canals which

traverse Plaintiffs Property.

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RESPONSE TO REOUEST FOR PRODUCTION NO. 42:

SNG objects to this Request to the extent it assumes or implies that any production of
documents depicting pipelines or canals constitutes an assertion or admission that data contained
on such documents are accurate. SNG further objects to this Request to the extent it seeks
documents that are contained in the public record, are already in the possession of Plaintiff, are
no longer in thc possession of SNG, or are more easily obtainable by Plaintiff from some other
source, and therefore places an undue burden on SNG to perform work on Plaintiffs’ behalf for
which Plaintiffs arc equally suited.

Subject to and without waiving any of its objections, SNG responds by producing
documents identified as KM¢SNGHOOOOoS - 000094; KM_SNG_000156 - 000157;
KM_SNG_OOOIGZ - 000]63; KM_SNG_{]OOlGG; KM_SNGMOUOI?O; KM_SNG_OOOl?Z m
000174', and KM_SNG_()OOl 81 ~ 000197.

REOUEST FOR PRODUCTION NO. 46:

Produce all documents, diaries, logbooks, reading files, and other such writings kept by
all of your former and present employees, contractors, and agents regarding any periodic or
routine inspections of the canals and pipelines that traverse Plaintiffs Property.

RESPONSE T() REOUES'I` FOR PRODUCTION NO. 462

SNG objects to this Request to the extent it assumes or implies that any documents
produced by employees or representatives of SNG pursuant to any inspection of canals or
pipelines contain accurate data. SNG further objects to this Request to the extent it seeks
documents that are no longer in the possession of SNG or are more easily obtainable by Plaintiff

from some other source, and therefore places an undue burden on SNG to perform work on

Plaintiffs’ behalf for Which Plaintiffs are equally suited.

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Subject to and without waiving any of its objections, SNG responds by producing

documents identified as KM_SNGF_OOOO?'? - 000094; KM_SNGHOOOISS - 000159; and

KM_sNomoooi 61 _ 000172.

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Respectfully Submitted:

 

R_ichard/]YMcComell, Jr. (#29973)
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CERTIFICATE OF SERVICE
l hereby certify that a copy of the above and foregoing was served on all counsel of
record by email, facsimile, or by placing a copy in the United States Mail, postage prepaid and
properly addressed

Baton Rouge, Louisiana, this 12th day of October, 2016.

 

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